                                          THE UNITED STATES BANKRUPTCY COURT
                                               NORTHERN DISTRICT OF OHIO

                    IN RE:                                           ) CHAPTER 13
                                                                     ) CASE NO: 19-51240
                    Barbara Jean Bryant                              )
                                                                     ) ALAN M. KOSCHIK
                                                                     ) BANKRUPTCY JUDGE
                                                DEBTOR(S)            )
                                                                     ) TRUSTEE’S MOTION TO DISMISS AS
                                                                     ) DEBTOR(S) HAS FAILED TO PROVIDE
                                                                     ) INFORMATION
                                                                     )

                        Now comes Keith L. Rucinski, the Chapter 13 Trustee, and hereby requests an order of
                    dismissal of this case pursuant to 11 USC Section 1307 (c)(1), (c)(3), (c)(4). The Trustee
                    states the following:

                        1. The Petition was filed on 05/28/2019 and converted from a Chapter 7 proceeding on
                          August 13, 2019.

                        2. The monthly Plan payments are $0.00.

                       3. As of the date of this motion, payments into the Plan total $0.00.

                       4. The Debtor(s) has failed to file or has filed incomplete and/or inaccurate documents
                          with the Court.

                       5. Without complete and accurate documents, the Trustee cannot perform his duties as
                          required by 11 USC Section 1302, including determining if the case should or should
                          not be recommended for confirmation.

                       6. In order to prepare for the 341 meeting, the Trustee needs these documents no later
CHAPTER 13                than five business days prior to the 341 meeting scheduled for 10/3/2019.
Keith L. Rucinski
     Trustee
Akron, OH 44308         Please note incomplete filings were due by August 27, 2019.
 (330)762-6335
       Fax
 (330)762-7072




              19-51240-amk        Doc 29      FILED 08/28/19        ENTERED 08/28/19 09:02:15       Page 1 of 3
                                                                 NOTICE

                    Pursuant to 11 US § 102, unless a party in interest requests a hearing on this pleading,
                    the Court may grant the relief requested without a hearing or further notice.

                    Pursuant to Rule 2002, parties that want to be heard on this matter must file a
                    response to this pleading within 21 days from the date in the below certificate of
                    service.

                    The response must be filed with the US Bankruptcy Court at:

                                                                   US Bankruptcy Court
                                                                    2 South Main Street
                                                           455 John F. Seiberling Federal Building
                                                                  Akron, OH 44308-1810

                    In addition to filing a response with the Court, parties requesting a hearing must serve
                    all parties in the below certificate of service either through the mailing address
                    provided or, where applicable, by the Court’s Electronic Filing System (ECF).




                    Respectfully submitted,


                    /s/ Keith L. Rucinski
                    Keith L. Rucinski,Chapter 13 Trustee
                    Ohio Reg. No. 0063137
CHAPTER 13          Joseph A. Ferrise, Staff Attorney
Keith L. Rucinski
     Trustee
                    Ohio Reg., No 0084477
Akron, OH 44308     Akron, OH 44308
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                    jferrise@ch13akron.com




              19-51240-amk        Doc 29      FILED 08/28/19      ENTERED 08/28/19 09:02:15          Page 2 of 3
                                                   CERTIFICATE OF SERVICE

                           I hereby certify that on 08/28/2019, the following were served a copy of this
                    pleading:

                    Via Regular Mail

                    Barbara Jean Bryant
                    3663 Ace Drive
                    Akron, OH 44319

                    Via ECF

                    Richard Kalal, Esq (rkalal@kalallaw.com)
                    Kathryn A. Belfance, Chapter 7 Trustee (kb@rlbllp.com)
                    Office of the US Trustee (ustpregion09.cl.ecf@usdoj.gov)
                    Keith L. Rucinski. Chapter 13 Trustee (krucinski@ch13akron.com)


                    Date of Service: 08/28/2019                   By: J. Neunz
                                                                  Office of the Chapter 13 Trustee




CHAPTER 13
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     Trustee
Akron, OH 44308
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              19-51240-amk        Doc 29    FILED 08/28/19       ENTERED 08/28/19 09:02:15           Page 3 of 3
